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                            ORAL ARGUMENT NOT YET SCHEDULED

                          IN THE UNITED STATES COURT OF APPEALS
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT

         STATE OF OKLAHOMA, et al.,

                         Petitioners,

                    v.
                                                                   Case No. 24-1125
                                                                   (consolidated with No. 14-1127)
         U.S. ENVIRONMENTAL PROTECTION
         AGENCY and Lee Zeldin, Administrator of the
         U.S. Environmental Protection Agency,

                         Respondents.

                     UNOPPOSED MOTION TO HOLD CASES IN ABEYANCE
                Respondents      United   States   Environmental    Protection Agency     and

         Administrator Lee Zeldin 1 (“EPA”) respectfully move the Court to hold these

         consolidated cases in abeyance (with status reports every 90 days) while EPA

         undertakes a new rulemaking to reassess elements of the underlying rule challenged

         here. Undersigned counsel has conferred with counsel for all parties. Petitioners do

         not oppose the motion. Intervenors take no position on the motion. Thus, the motion

         is unopposed.

                1.       Petitioners seek review of an EPA action titled, “Accidental Release

         Prevention Requirements: Risk Management Programs Under the Clean Air Act;


         1
          Administrator Zeldin is substituted for former Administrator Michael S. Regan
         pursuant to Federal Rule of Appellate Procedure 43(c)(2).

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         Safer Communities by Chemical Accident Prevention,” published at 89 Fed. Reg.

         17,622 (March 11, 2024) (“Final Rule”). The Final Rule was issued under the Clean

         Air Act’s Risk Management Program provision, which is designed to prevent and

         reduce the risk of accidental releases of hazardous chemicals. See 42 U.S.C.

         § 7412(r)(7).

                2.    As detailed in the attached Declaration of Steven Cook, Deputy

         Assistant Administrator of EPA’s Office of Land and Emergency Management,

         EPA intends to undertake a new notice-and-comment rulemaking to reassess the

         requirements in the Final Rule in light of the new Administration’s policy priorities.

         Cook Decl. ¶ 9. EPA intends to complete this rulemaking as expeditiously as

         practicable and aims to publish a Final Rule in late 2026. Cook Decl. ¶ 11.

                3.    A further abeyance of these consolidated cases is warranted to allow

         time for EPA to undertake its rulemaking. To apprise the parties and the Court of

         EPA’s progress, EPA proposes filing status reports at 90-day intervals during the

         abeyance period.

                4.    This Court has “broad discretion to stay proceedings as an incident to

         its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997);

         see also Landis v. N. Am. Co., 299 US. 248, 254 (1936); Cottrell v. Duke, 737 F.3d

         1238, 1248 (8th Cir. 2013). An abeyance is prudent “if the public welfare or

         convenience will thereby be promoted.” Landis, 299 U.S. at 256.


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                5.    Abeyance is warranted here because courts have long recognized that

         agencies may generally review and, if appropriate, revise their past decisions. See,

         e.g., Motor Vehicle Mfrs. Ass’n v. State Farm Mutual Auto. Ins. Co., 463 U.S. 29,

         42 (1983) (“[R]egulatory agencies do not establish rules of conduct to last forever

         [and] an agency must be given able latitude to adapt their rules and policies to . . .

         changing circumstances.”); Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032,

         1038, 1043 (D.C. Cir. 2012) (explaining that an agency’s “reevaluation of which

         policy would be better in light of the facts” is “well within” its discretion and that a

         change in administration is a “perfectly reasonable basis for an executive agency’s

         reappraisal of the costs and benefits of its programs and regulations” (internal

         quotation marks omitted)).

                6.    Courts routinely grant stays or abeyance in circumstances like those

         presented here where a new administration seeks to review prior actions. See, e.g.,

         Order, (Doc. Nos. 1883880, 1882301),2 Am. Fuel & Petrochem. v. EPA, No. 19-

         1124 (D.C. Cir. Feb. 5, 2021) (rescheduling oral argument at EPA’s request to

         accommodate change of administration); Order (Doc. Nos. 1675813, 1670157), Am.

         Petroleum Inst. v. EPA, No. 13-1108 (D.C. Cir. May 18, 2017) (abating challenge

         to EPA’s authority to regulate methane from oil and gas operations following change



         2
          In this and the following citations, the first ECF citation refers to the Court’s
         Order and the second ECF citation refers to EPA’s motion for a stay or abeyance.

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         of administration); Order (Doc. Nos. 1673071, 1668274), West Virginia v. EPA, No.

         15-1363 (D.C. Cir. Apr. 28, 2017) (abating challenges to Clean Power Plan rule

         following change of administration).

                7.    Abeyance would also preserve resources of the parties and the Court.

         It is possible that EPA’s new rulemaking could obviate the need for judicial

         resolution of some or all of the disputed issues in these cases. See Cook Decl. ¶ 10.

         Good cause thus exists for the requested abeyance. See Anchor Line Ltd. v. Fed.

         Maritime Comm’n, 299 F.2d 124, 125 (D.C. Cir. 1962) (“[W]hen an agency seeks

         to reconsider its action, it should move the court to remand or to hold the case in

         abeyance pending reconsideration by the agency.”); cf. Ctr. for Biological Diversity

         v. EPA, 56 F.4th 55, 71–71 (D.C. Cir. 2022) (courts “routinely stay [their] hand when

         parties identify developments that are likely to render judicial resolution

         unnecessary”); Am. Petroleum Inst. v. EPA, 683 F.3d 382, 386–87 (D.C. Cir. 2012)

         (finding proposed rule that would eliminate disputed issue rendered pending case

         prudentially unripe).

                8.    For these reasons, the Court should place this matter in abeyance, with

         a requirement for EPA to file status reports at 90-day intervals during the abeyance

         period.

                                                   Respectfully submitted,

          DATED: March 6, 2025                     ADAM R.F. GUSTAFSON
                                                    Deputy Assistant Attorney General

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                     CERTIFICATES OF COMPLIANCE AND SERVICE

                This document complies with the word limit of Federal Rule of Appellate

         Procedure 27(d)(2)(A) because, excluding the parts of the document exempted by

         Federal Rule of Appellate Procedure 32(f), this document contains 808 words.

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         Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

         Appellate Procedure 32(a)(6) because this document has been prepared in a

         proportionally spaced typeface using Microsoft Word in 14-point Times New

         Roman font.

                On March 6, 2025, I filed the foregoing with the Court’s CMS/ECF system,

         which will notify each party.




         Dated: March 6, 2025                       Respectfully submitted,

                                                      s/Andrew S. Coghlan
                                                      ANDREW S. COGHLAN
                                                      Counsel for Respondents




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